Case 8:10-cr-00056-DOC Document 557 Filed 05/31/24 Page 1 of 2 Page ID #:3216



  1
                                                                     CLERK, U.S. ~:';?'~~,.,
                                                                         --
  2                                                                                      ~~TGOURT


  3                                                                       MAY ~ t ~4
  4                                                            c~Nrr~a~
                                                               BY       oisr~c     OF
                                                                                        CALIFORNIA
                                                                                           DEPUN
  5 ~'
  6
  7
  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11               STATES OF AMERICA,                    Case No.: S ~ 10 - CR -00S(o ~ ~~-3
 12                                   Plaintiff,        ORDER OF DETENTION AFTER
                                                        HEARING
 13                   vs.                               [Fed. R. Crim. P. 32.1(a)(6); 18 U.S.C.
                                                         § 3143(a)]
 14       Rav 1 Dc19~~o 1"lagar,a.
 15                                   Defendant.
 16
 17           The defendant having been arrested in this District pursuant to a warrant issued
 18      y the United States District Court for the     C.D. C.o1.
 19 or alleged violations) of the terms and conditions of his/her ~r*-^~~+;^n~ [supervised
20 elease]; and
21            The Court having conducted a detention hearing pursuant to Federal Rule of
22       riminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
23            The Court finds that:
24          (JjThe defendant has not met his/her burden of establishing by clear and
25           convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
26           3142(b)or (c). This finding is based on ~s ~~,,;~;~,~ dress                        Qfl
27             z.,Yet.a     ~1L~an~     a~1e~a~.~O~~S

2g
Case 8:10-cr-00056-DOC Document 557 Filed 05/31/24 Page 2 of 2 Page ID #:3217



  1
 2
 3        and/or
 4 3.    ()The defendant has not met his/her burden of establishing by clear and
 5        convincing evidence that he/she is not likely to pose a danger to the safety of any
 6        other person or the community if released under 18 U.S.C. § 3142(b)or (c). This
 7        finding is based on
 8
 9
 10
 11
 12
 13       IT THEREFORE IS ORDERED that the defendant be detained pending further
 14   .vocation proceedings.
 15
 16   ATED:        5~ 31 ~`I                         V,
                                          KAREN E. SCOTT
 17                                       UNITED STATES MAGISTRATE JUDGE
 18
 19
20
21
22
23
24
25
26
27
28

                                          Page 2 of2
